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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
                    v.                           )        Criminal No. 17-201 (ABJ)
                                                 )
 PAUL J. MANAFORT, JR.,                          )        UNDER SEAL
                                                 )
                         Defendant.              )
                                                 )

                    DEFENDANT PAUL J. MANAFORT JR.’S
              MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       Pursuant to LCrR 49(f)(6), Defendant Paul J. Manafort, Jr., by and through counsel, hereby

requests leave of the Court to file documents under seal. On March 4, 2019, Mr. Manafort filed a

Motion to Reconsider under seal (Doc. 538-1). At that time, the Court directed the parties to confer

regarding the filing of a redacted version of the Motion to Reconsider. Because the issues related

to redaction address matters currently under seal, Mr. Manafort requests leave to file the documents

described below under seal.

       The parties have exchanged proposed redactions, but have been unable to agree on the

redactions. As a result, Mr. Manafort seeks to file the three unredacted versions of the Motion to

Reconsider under seal in an effort to assist the Court in ruling on what redactions are appropriate.

Mr. Manafort is filing the following under seal: (1) a version with Mr. Manafort’s proposed

redactions marked (Attachment A); a version with the Special Counsel’s proposed redactions

marked (Attachment B); and a comparison document (Attachment C), which shows Mr.

Manafort’s proposed redactions in red boxes and the Special Counsel proposed redactions in
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yellow highlighting. Finally, Attachment D to this motion is a version of the Motion to Reconsider

with the redactions proposed by the government – the most extensive set of redactions – applied

to the document. Mr. Manafort proposes to file Attachment D into the public docket, pending the

Court’s resolution of the disputed redactions.

        WHEREFORE, Mr. Manafort requests that these documents be filed under seal and the

Court permit the filing of Attachment D on the public docket pending the Court’s resolution of the

disputed redactions. A proposed order accompanies this motion.

Dated: March 28, 2019                                Respectfully submitted,


                                                      /s/
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